Case: 5:22-cv-01454-CEH Doc #: 1-2 Filed: 08/15/22 1 of 2. PagelD #: 14

AO 440 (Rev, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Northern District of Ohic

Carl Forsell
d/b/a Nonce PTE., LTD.
8 St. Martin Dr., # 03-21
Singapore, 258005

Plaintiff)
. v.
Squirrels, LLC
c/o Andrew Gould
121 Wilbur Dr, NE
North Canton, OH 44720

Civil Action No.

Nemie Nae Nena Neel Neue Nee Nome Ne Ne Nee Se Mer”

Defendant(s)

SUMMONS IN A CIVIL ACTION

Squirrels, LLG

cfo Andrew Gould

121 Wilbur Dr. NE

North Canton, OH 44720

To: (Pefendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) ——- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ,
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Thomas L. Sooy, Esq.

James E.P. Sisto, Esq.

The Law Offices of Robert Schuerger Co., LPA
1001 Kingsmill Parkway

Columbus, OH 43229

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

Date: _

Signature of Clerk or Deputy Clerk
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Civil Action No,

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for (uame of individual and title, if any)

was received by me on date)

O Tpersonaily served the summons on the individual at (piace)

on (date) - ; or

() 1 left the summons at the individual's residence or usual place of abode with fame)

, a person of suitable age and discretion who resides there,

oni (date) , and mailed a copy to the individual’s last known address; or

O [served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
1 I returned the summons unexecuted because ; Or
1 Other Gpecify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
